       Case 1:05-cr-00018-MP-AK Document 18 Filed 05/16/05 Page 1 of 2


                                                                                   Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION



UNITED STATES OF AMERICA,

      Plaintiff,

vs.                                                    CASE NO. 1:05-CR-18-SPM/AK

ISRAEL BISHOP,

      Defendants.

                                    /

                                        ORDER

      Presently before the Court in the above entitled action is an Unopposed Motion

to Amend Conditions of Pretrial Release (doc. 17) filed by Defendant, Israel Bishop.

Defendant requests the Court enter an order amending his pretrial release travel

condition to allow him to travel on June 2 thru June 8, 2005, to Orlando, in the Middle

District of Florida, for a previously planned and paid family vacation. The Government

and the Supervising Pre Trial Release Officer have no objection.

      Accordingly, it is

      ORDERED:

      That the Unopposed Motion to Amend Conditions Pretrial Release (doc.17) is

GRANTED, in that the restricted Travel Condition previously entered by the Court is
        Case 1:05-cr-00018-MP-AK Document 18 Filed 05/16/05 Page 2 of 2


                                                                                     Page 2 of 2


AMENDED to allow Defendant, Israel Bishop, to travel to Orlando, June 2 thru June 8,

2005, in the Middle District of Florida . All other terms and conditions remain in full force

and effect.

       DONE AND ORDERED this 16th day of May, 2005.


                                           s/ A. KORNBLUM
                                           ALLAN KORNBLUM
                                           UNITED STATES MAGISTRATE JUDGE




No. 1:04-cr-37-spm/ak
